                     Case 1:23-cr-00091-BAM Document 4 Filed 05/04/23 Page 1 of 1
                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA                                    FILED
UNITED STATES OF AMERICA,                                                                                May 04, 2023
                                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF CALIFORNIA

                               Plaintiff,

                       v.                                 CR NO: 1:23-CR-00091-ADA-BAM

AUSTIN NOBLITT
                              Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee:     AUSTIN NOBLITT
 Detained at           FCI - MENDOTA
 (custodian):
 Detainee is:          a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                charging detainee with:
                  or   b.)    ☐ a witness not otherwise available by ordinary process of the Court
                                ___________________
 Detainee will:        a.)       ☐ ___________________
                                   return to the custody of detaining facility upon termination of proceedings
                  or   b.)       ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is
                                   ____________
                                     currently being served at the detaining facility

             Appearance is necessary Tuesday , May 16, 2023 at 2:00pm in the Eastern District of California.

                       Signature:                                /s/Jeffrey Spivak
                       Printed Name & Phone No:                  Jeffrey Spivak 559-497-4073
                       Attorney of Record for:                   United States of America

                                            WRIT OF HABEAS CORPUS
                            ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as any Federal Agent for this district, is
hereby ORDERED to produce the named detainee, Tuesday, May 16, 2023 at 2:00pm, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
 Dated:      May 4, 2023
                                                             Honorable Erica P. Grosjean
                                                             U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s) (if                                                                               ☒Male      ☐Female
 Booking or CDC #:                                                                        DOB:
 applicable):
 Facility Address:                                                                        Race:
 Facility Phone:                                                                          FBI#:
 Currently

 Incarcerated For:                                RETURN OF SERVICE
 Executed on:
                                                              (signature)
